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    From                                     DPS Government Relations
    To                                       conradrishermailhousegov
    CC                                       Arriaga Amanda
    Sent                                     10192011            124135          PM
    Subject                                  Information         for    Congressman Gonzalez
    Attachments                              09 09   11      DLD Sitespdf               DPS    proposed        rules    EICpdf     EIC draft cardpdf                     EIC ID chart       101111pdf




Conrad


I
     was provided with your email address and                                    told   you are       the point        person     in   Congressman Gonzalezs                          office   for Voter

ID    issues        The following information                       is   provided        in   response to the request                  for follow                  up from Congressman
Gonzalez


Attached                       Texas         Election        Identification Certificate               identification          requirements

                             List of   all    DL locations in Texas                     this   is   the   same       list   provided to                      DOJ
                             Proposed EIC            rules


                             Proposed EIC


Total      number of DLID               holders         in   Texas       as of       09012011
                Active Driver Licenses                        DL    and     CDL                 16899245
                Active Personal Identification Cards                                           3862169


San Antonio Mega                   Center location

San Antonio

Location       Corner of        Huebner        and Evers Streets

This     location   is   a   new   build      and the        facility    will   be   built   specifically      to   suit    DL office needs                   The planned   opening    is   scheduled   for


September 2012




If
     you or the Congressman have any questions                                          please      let   us   know


Thank you


Gretchen        Essell
                                                                                                                2:13-cv-193
                                                                                                                                        exhibitsticker.com




Public     Affairs       and Policy
                                                                                                                09/02/2014
Texas Department of Public Safety

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